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21                      IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
22
      PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-5146-LHK-SVK
23    themselves and all others similarly situated,
                                                      JOINT STIPULATION AND
24           Plaintiffs,                              [PROPOSED] ORDER REGARDING
                                                      GOOGLE’S NEW TERMS OF SERVICE
25           v.
                                                      Civil L.R. 6-1(b); 6-2(a)
26    GOOGLE LLC,
                                                      Judge: Honorable Lucy H. Koh
27           Defendant.
28
     CASE NO. 5:20-CV-5146-LHK-SVK
     JOINT STIPULATION AND [PROPOSED]
     ORDER RE NEW TOS
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 1          WHEREAS, Google LLC (“Google”) has announced new Terms of Service (the “New

 2   TOS”) governing the relationship between Google and users of various Google Services; and

 3          WHEREAS, the effective date of the New TOS is planned for January 5, 2022; and

 4          WHEREAS, Google contends that use of Chrome qualifies as use of a Google Service to

 5   which the New TOS will apply; and

 6          WHEREAS, this litigation involves a putative class of Chrome users; and

 7          WHEREAS, the New TOS adds a new provision that “Google isn’t liable for . . . punitive

 8   damages”; and

 9          WHEREAS, the New TOS also adds a new provision that “Google’s total liability arising

10   out of or relating to these terms is limited to the greater of (1) $200 or (2) the fees paid to use the

11   relevant services in the 12 months before the dispute”; and

12          WHEREAS, the parties conferred and agreed that the New TOS shall not apply to

13   extinguish or limit claims in this existing ligation as follows;

14          NOW, THEREFORE, the Parties stipulate as follows, subject to Court approval:

15                   1. Google’s New TOS does not release, extinguish or limit any claims for punitive

16                      damages in the Calhoun litigation that existed prior to January 5, 2022, either

17                      for named plaintiffs or putative class members.

18                   2. The $200 liability cap in Google’s New TOS shall not apply in the Calhoun

19                      litigation to limit claims that existed prior to January 5, 2022, either for the

20                      named plaintiffs or putative class members.

21                   3. Plaintiffs’ Motions (the Motion to Shorten Time and Expedite Hearing, Dkt. No.

22                      419, and Plaintiffs’ Motion for Emergency Relief pursuant to Rule 23(d), Dkt.

23                      No. 418) are agreed withdrawn.

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 1    Dated: December 30, 2021

 2
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28
     CASE NO. 5:20-CV-5146-LHK-SVK
     JOINT STIPULATION AND [PROPOSED]              2
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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, David A. Straite, attest that concurrence in the filing of this document has been obtained

 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 30th day of December, 2021, at Marbletown, New York.

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                                                           /s/ David A. Straite
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                                                            David A. Straite
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                                         [PROPOSED] ORDER
 1

 2   Pursuant to stipulation of the Parties, the Court hereby ORDERS:
 3
                   1. Google’s New TOS does not release, extinguish or limit any claims for punitive
 4
                       damages in the Calhoun litigation that existed prior to January 5, 2022, either
 5
                       for named plaintiffs or putative class members.
 6
                   2. The $200 liability cap in Google’s New TOS shall not apply in the Calhoun
 7
                       litigation to limit claims that existed prior to January 5, 2022, either for the
 8
                       named plaintiffs or putative class members.
 9
                   3. Plaintiffs’ Motion to Shorten Time and Expedite Hearing (Dkt. No. 419) and
10
                       Motion for Emergency Relief pursuant to Rule 23(d) have been withdrawn and
11
                       are therefore DENIED AS MOOT.
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13
     PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
14

15   Date: ___________________
            January 1, 2022
16

17                                               __________________________________
                                                 HON. LUCY H. KOH
18                                               United States District Court Judge

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     CASE NO. 5:20-CV-5146-LHK-SVK
     JOINT STIPULATION AND [PROPOSED]                4
     ORDER RE NEW TOS
